Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 1 of 21 PageID #: 185
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 2 of 21 PageID #: 186
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 3 of 21 PageID #: 187
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 4 of 21 PageID #: 188
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 5 of 21 PageID #: 189
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 6 of 21 PageID #: 190
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 7 of 21 PageID #: 191
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 8 of 21 PageID #: 192
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 9 of 21 PageID #: 193
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 10 of 21 PageID #: 194
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 11 of 21 PageID #: 195
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 12 of 21 PageID #: 196
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 13 of 21 PageID #: 197
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 14 of 21 PageID #: 198
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 15 of 21 PageID #: 199
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 16 of 21 PageID #: 200
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 17 of 21 PageID #: 201
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 18 of 21 PageID #: 202
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 19 of 21 PageID #: 203
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 20 of 21 PageID #: 204
Case 1:13-cv-01255-DLI-CLP Document 45-1 Filed 08/15/14 Page 21 of 21 PageID #: 205
